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                  IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAWAII

ELIJAH JACKSON, JR., FL ID    )           CIV. NO. 19-00380 SOM-RT
#979922,                      )
                              )
          Plaintiff,          )           ORDER DISMISSING ACTION
                              )           PURSUANT TO 28
     vs.                      )           U.S.C. § 1915(g)
                              )
MAGOON ESTATES LTD., et al., )
                              )
          Defendants.         )
_____________________________ )

      ORDER DISMISSING ACTION PURSUANT TO 28 U.S.C. § 1915(g)

      Before the court is pro se Plaintiff Elijah Jackson, Jr.’s

first amended complaint (“FAC”), brought pursuant to 42 U.S.C.

§ 1983.1   ECF No. 5, at PageID #42.       Jackson, who is a Florida

state prisoner, has submitted neither the civil filing fee for

commencing this action nor an in forma pauperis (“IFP”)

application.    Jackson seeks relief regarding injuries he claims

that he incurred in an automobile accident in Hawaii on or about

March 19, 1985.     See FAC., ECF No. 5.      Jackson states that he

reached a settlement in a prior suit regarding the accident, but

he now seeks additional damages.         He asserts federal question

jurisdiction under 28 U.S.C. § 1331, although he suggests

diversity jurisdiction may be proper.




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       Because an amended pleading generally supersedes a
previous pleading, the court confines its review to allegations
in the FAC. See Ramirez v. Cty. of San Bernardino, 806 F.3d
1002, 1008 (9th Cir. 2015). Jackson’s Amended Complaint appears
identical to his original Complaint, except for its title.
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      Jackson has accrued three strikes pursuant to 28 U.S.C.

§ 1915(g) and has had ample notice of these strikes.2             He may not

proceed without concurrent payment of the filing fee unless his

pleadings show that he was in imminent danger of serious physical

injury at the time that he brought this action.             See Andrews v.

Cervantes, 493 F.3d 1047, 1053, 1055 (9th Cir. 2007).              Nothing

within the Complaint remotely suggests that Jackson is or was in

imminent danger of serious physical injury when he filed this

action, certainly not based on an automobile accident that

allegedly occurred thirty-four years ago.          Nor is there any

allegation of a continuing practice that, having injured him in

the past and being related to his claims against these

Defendants, poses an “ongoing danger” to him.             Id. at 1056.

Jackson may not proceed in this action without concurrent payment

of the civil filing fee.

      Further, to the extent Jackson’s claims make any sense, the

court lacks subject matter jurisdiction over them.             See Deutsche

Bank Nat’l Tr. Co. for Harborview Mortg. Loan Tr. 2007 v. Cutlip,



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        See, e.g., Jackson v. Weiss, No. 8:2003-cv-02070 (M.D.
Fla., Oct. 6, 2003) (dismissing for failure to state a claim);
Jackson v. Aurora Loan Serv., No. 8:2004-cv-02790 (M.D. Fla.,
Dec. 29, 2004) (dismissing for failure to state a claim); Jackson
v. Weiss, No. 8:2011-cv-00646 (M.D. Fla., Mar. 4, 2011)
(dismissing for failure to state a claim); Jackson v. Lewis,
8:2016-cv-00559 (M.D. Fla., Mar. 11, 2016) (listing prior strikes
and dismissing pursuant to § 1915(g)). Each of these cases
indicates Jackson’s Florida prison identification number, 97922,
which is the number Jackson provides in his pleadings.

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2017 WL 993073, at *2 (N.D. Cal. Mar. 15, 2017) (explaining the

difference between federal question and diversity jurisdiction).

To state a claim under § 1983, a plaintiff must allege (1) that a

right secured by the Constitution or laws of the United States

was violated, and (2) that the alleged violation was committed by

a person acting under the color of state law.             See West v.

Atkins, 487 U.S. 42, 48 (1988).

       Jackson asserts only state law tort claims, including

negligence and medical malpractice, and does not allege or

explain how any named Defendant was acting under color of state

law.    Even a liberal construction of his claims does not reveal

any basis for federal question jurisdiction.              See Grable & Sons

Metal Prod., Inc. v. Darue Eng'g & Mfg., 545 U.S. 308, 312 (2005)

(“[F]ederal-question jurisdiction is invoked by and large by

plaintiffs pleading a cause of action created by federal law

(e.g., claims under 42 U.S.C. § 1983).”).

       Additionally, there is no basis for diversity jurisdiction

under 28 U.S.C. § 1332(a), because Jackson names several

Defendants he describes as citizens of Florida, where he is

incarcerated.    Owen Equip. & Erection Co. v. Kroger, 437 U.S.

365, 373-74 (1978) (“[D]iversity jurisdiction does not exist

unless each defendant is a citizen of a different State from each

plaintiff.”).

       Thus, even if Jackson were able to pay the costs of this

suit, this court would lack subject matter jurisdiction to hear

his claims.

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                                 CONCLUSION

      (1) This action is DISMISSED without prejudice but without

leave to file any new action in this court with respect to these

claims and these Defendants.

      (2) The July 15, 2019 Deficiency Order, ECF No. 3, is

VACATED.

      (3) Any pending motions are DISMISSED.          The court will take

no action on any documents filed hereafter, beyond processing a

notice of appeal.

      (4)   The Clerk of Court is DIRECTED to enter judgment and to

close this case.

      IT IS SO ORDERED.

      DATED: Honolulu, Hawaii; July 30, 2019.




                               /s/ Susan Oki Mollway
                              Susan Oki Mollway
                              United States District Judge




Jackson v. Magoon Estates Ltd., et al., No. 19-cv-00380 SOM-RT; 3 stks ‘19 (no
imm. dgr, no juris.)




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